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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,


                        Plaintiff,                                     4:23CR3058


         vs.
                                                          FINAL ORDER OF FORFEITURE
NICHOLAS HEITMAN,


                        Defendant.




        This matter is before the Court on the United States’ Motion for a Final Order of Forfeiture
(Filing No. 107). Having reviewed the record in this case, the Court finds as follows:

        1.     On October 16, 2024, the Court entered a Preliminary Order of Forfeiture forfeiting
Defendant’s interest in $4,580.00 in United States currency (Filing No. 91).
        2.     Notice of Criminal Forfeiture was posted on an official internet government
forfeiture site, www.forfeiture.gov, for at least thirty-consecutive days, beginning on October 18,
2024, as required by 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules of Criminal
Procedure. A Declaration of Publication was filed herein on December 17, 2024 (Filing No. 106).
        3.     The United States advises the Court that no party has filed a petition regarding the
subject Property. From a review of the Court file, the Court finds that no person or entity has filed
a petition.
        4.     The Motion for Final Order of Forfeiture should be granted.


        Accordingly,

        IT IS ORDERED:
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     1.     Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 107) is granted;

     2.     All right, title and interest in and to the $4,580.00 in United States currency seized
            from Defendant on or about December 6, 2022, held by any person or entity are
            forever barred and foreclosed;

     3.     The $4,580.00 in United States currency is forfeited to the Government; and

     4.     The Government is directed to dispose of that currency in accordance with the law.

     Dated this 18th day of December, 2024.

                                                   BY THE COURT:



                                                   Susan M. Bazis
                                                   United States District Judge




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